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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JON R. MORGAN, on behalf of himself and all others
similarly situated,

 

Plaintiff, : ORDER
-against- 19 Civ. 10911 (GBD)
UNIQUE USA, INC.,

Defendant.

GEORGE B. DANIELS, United States District Judge:

The initial conference scheduled for May 27, 2020 is canceled.

Dated: New York, New York
May 5, 2020
SO ORDERED.

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GER B. DANIELS
ted States District Judge

 

 

 
